              Case 6:19-bk-02033-CCJ        Doc 23    Filed 06/18/19     Page 1 of 2



                                       ORDERED.

         Dated: June 18, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

In re:                                            Case No. 6:19-bk-02033-CCJ
                                                  Chapter 7
David Billsborough
Patricia Billsborough,

          Debtors.       /


ORDER AUTHORIZING THE RETENTION OF BK GLOBAL REAL ESTATE SERVICES
 AND CENTURY 21 CARIOTI TO PROCURE CONSENTED PUBLIC SALE PURSUANT
                      TO 11 U.S.C. §327, 328 AND 330

          THIS CASE came on for consideration without hearing on the Trustee’s Application to Retain

BK Global Real Estate Services and Century 21 CARIOTI upon the Notice and Application of Dennis

Kennedy, the trustee in the above-captioned case (“Trustee”), to Retain BK Global Real Estate

Services and Century 21 Carioti to Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328

and 330 (“Application”) [Docket No. 22], the Court concludes that BK Global Real Estate Services

and Century 21 CARIOTI do not hold or represent any interest adverse to the estate and are

disinterested persons within the meaning of Section 101(14) of the Bankruptcy Code. The Court

further concludes that BK Global Real Estate Services and Century 21 CARIOTI are qualified to

represent the Trustee and that the Court’s authorization of their employment is in the best interest of

the estate.
            Case 6:19-bk-02033-CCJ         Doc 23     Filed 06/18/19     Page 2 of 2




       Accordingly, it is

       ORDERED the Application is granted and the Court approves the retention of BK Global Real

Estate Services and Century 21 CARIOTI to sell real property located at 12836 JACOB GRACE CT

WINDERMERE, FL 34786. All compensation authorized is subject to provisions of Section 330 of

the Bankruptcy Code.



Trustee Dennis D. Kennedy is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and to file a proof of service within 3 days of entry of the order.




                                                  2
